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AO 91 (Rev. 02/09) Crirninal Complaint

UNITED STATES DISTRICT COURT §"“Masi>ara@@m

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, HLEDQ 0 C*“S

 

for the
Southern District of Texas APR w 5 mw
United States of Arnerica -
v. § D&Wi J-» Bfadley; Slerét
Alexis LOPEZ ) ' Case No. |\/|~17-0627-M-02

YOB: 1995 / COB: USC" )

)

Defendant
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of rny knowledge and belief.

On or about the date of 04/ 041/201 7 in the county of Hlda\QO in the SOUi‘hem District of

Texas , the defendant violated Title 18 U. S. C. § 924(a)(1)(A) and 2
, an offense described as follows:

 

Whoever, knowingly makes any false statement or representation With respect to the information required to be kept by
this chapter to be kept in the records of a person licensed under this chapter; and

Whoever commits an offense against the United States or aids, abets, counsels, commands, induces or procures its
commission, is punishable as a principal.

This criminal complaint is based on these facts:

 

 

sEE ATTAcHMENT A
d Continued on the attached sheet.
’Ctnliil?»
' Comp[ainant ’s signature
2'°“`lie""""‘é}`\@"[" vmee@°.mz/ N>SA Carlos lV|. Delgado, Jr, ATF Special Agent
LH$. l \q’ Printed name and title

Sworn to before me and signed in my presence.

150/7 ;',®//L~ /%;@M

Judge ’S signature /

 

Date:

lV|cAllen, TX ' Peter E. Ormsby, U.S. l\/lagistrate Judge

Printed name and title

 

City and state:

 

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AO 9l (Rev. 02/09) Criminal Cornplaint

ATTACH]VIENT A

l, Carlos M. Delgado, Jr, being duly sworn, do hereby state that l am a Special Agent with the Bureauy of
Alcohol, Tobacco, Firearms and EXplosives (ATF), a Division of the United States Department of Justice, and
have been so employed since March 23, 2014. As a Special Agent with the Bureau of Alcohol, Tobacco,

Firearrns and EXplosives, l am vested with the authority to investigate violations of Federal laws, including
Titles 18 and 26 of the United States Code.

This affidavit is in support of a criminal complaint charging AleXis LOPEZ ("LOPEZ"), with the criminal
violation set forth in Attachment A. The evidence available to me demonstrates that there is probable cause
that LOPEZ has violated Title 18 U.S.C. Sections 924(a)(l)(A) & 2 which provide as follows:

Whoever, knowingly makes any false statement or representation with respect to the information required to be
kept by this chapter to be kept in the records of a person licensed under this chapter; and

Whoever commits an offense against the United States or aids, abets, counsels, commands, induces or procures
its commission, is punishable as a principal.

Further, the Affiant states as follows:

On April 4, 2017, ATF Special Agents arrested an individual who admitted post-Miranda to straw purchasing a

Bushmaster, l\/[odel: BAS 0, .50 caliber rifle. On said date, ATF Special Agents received information that the

individual was going to purchase a Bushmaster, Model: BASO, .5 0 caliber rifle from a local Federal Firearms

~ Licensee ("FFL") in McAllen, Texas. Agents then conducted mobile surveillance of the straw purchaser as

he/ she arrived at the FFL location A short while later, the individual was observed exiting from the location
with the .50 caliber rifle and boarding a white Chevrolet sedan. Agents followed the individual for several
minutes before a marked McAllen P.D patrol unit initiated a vehicle stop of the white Chevrolet sedan after the
individual was observed committing a traffic violation During the vehicle stop, ATF agents approached and
interviewed the individual regarding the purchase of the .50 caliber rifle. During the interview, the individual
admitted to straw purchasing the .50 caliber rifle for AleXis LOPEZ and stated that he/She was on his/her way
to transfer the firearm to LOPEZ. Additionally, the straw purchaser stated that AleXis LOPEZ gave him/her

. instructions as to the type of firearm to purchase, provided him/her with money to purchase the .50 caliber rifle
from the FFL in McAllen, TeXas, and was going to pay him for doing so. Furthermore, the individual admitted
that he/ she made false statements on ATF Form 4473 when he/ she stated that he/she was the actual purchaser
of the firearm, when in fact, he/she was purchasing the firearm for Alexis LOPEZ. As a result, LOPEZ caused
the individual to make false statements on ATF Form 4473 in violation of Title 18 USC Sections 924(a)(l)(A)
and 2.

